     Case 1:24-cv-00312-SE-TSM           Document 60      Filed 03/27/25     Page 1 of 11




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


Coalition for Open Democracy, League of        )
Women Voters of New Hampshire, The             )
Forward Foundation, McKenzie Nykamp            )
Taylor, December Rust, Miles Borne, by his     )
next friend Steven Borne, Alexander Muirhead, )
by his next friend Russell Muirhead, and Lila )
Muirhead, by her next friend Russell Muirhead, )
                      Plaintiffs,               )
                                                )
                                                )
        vs.                                     )   Civil Action No. 1:24-cv-00312-SE
                                                )
                                                )
David M. Scanlan, in his official capacity as   )
New Hampshire Secretary of State, and John      )
Formella, in his official capacity as New       )
Hampshire Attorney General,                     )
                                                )
                                                )
                      Defendants.               )
                                                )
                                                )

                      PLAINTIFFS’ MOTION TO COMPEL
          THE STATEWIDE VOTER DATABASE AND RELATED DOCUMENTS

                 (Expedited Treatment Requested Under Local Rule 7.1(f))

        Plaintiffs Coalition for Open Democracy (“Open Democracy”), League of Women Voters

of New Hampshire (“LWV-NH”), and The Forward Foundation (together the “Organizational

Plaintiffs”), and McKenzie Nykamp Taylor, December Rust, Miles Borne, by his next friend

Steven Borne, Alexander Muirhead and Lila Muirhead, by their next friend Russell Muirhead,

(together the “Individual Plaintiffs”) hereby move to compel Defendants Secretary of State David

M. Scanlan and Attorney General John Formella (together the “Defendants”) to produce a copy of

the New Hampshire statewide voter database and all documents concerning the use of the statewide


151884176_2
     Case 1:24-cv-00312-SE-TSM             Document 60        Filed 03/27/25       Page 2 of 11




voter database, including instruction manuals or other guides concerning the data fields contained

in the database and their correct interpretation. The production of the database is essential to aiding

Plaintiffs in demonstrating that HB 1569 unconstitutionally burdens the fundamental right to vote

under the United States Constitution. Defendants’ claim that state law prevents disclosure of the

database is without merit. As explained in more detail below, state law privileges do not trump

federal civil discovery rules, and district courts in New Hampshire have repeatedly and

consistently rejected arguments to the contrary. Accordingly, as the information in the database is

not only critical to this case, but also to the completion of Plaintiffs’ expert report, due on June 4,

2025, Plaintiffs ask that this Motion to Compel be granted on an expedited basis pursuant to Local

Rule 7.1(g).

                              DISCOVERY REQUEST AT ISSUE

        Pursuant to Local Rule 37.1(a), “[a]ny discovery motion filed pursuant to Fed. R. Civ. P.

26 or 30 - 37 shall include, in the motion itself or in an attached memorandum, a verbatim recitation

of each interrogatory, request, answer, response, and objection, or a copy of the actual discovery

document which is the subject of the motion, provided that the party shall file only that portion of

the discovery document that is objected to or is the subject of the motion.”

        Here, Plaintiffs’ Second Request for the Production of Documents (the “Second RFPD”)

was served on February 25, 2025 and Plaintiffs submitted one document request to Defendants.

This request sought the following: “A copy of the New Hampshire statewide voter database and

all documents concerning the use of the statewide voter database, including instruction manuals or

other guides concerning the data fields contained in the database and their correct interpretation.”

Second RPFD 1.

        Defendants served their response on March 12, 2025, stating as follows:



                                                  1
151884176_2
     Case 1:24-cv-00312-SE-TSM             Document 60         Filed 03/27/25      Page 3 of 11




        Defendants’ Objections: “The voter database shall be private and confidential and shall

not be subject to RSA 91-A and RSA 654:31, nor shall it or any of the information contained

therein be disclosed pursuant to a subpoena or civil litigation discovery request.” RSA 654:45, VI.

The parties have already met and conferred regarding this Request, Defendants have declined to

produce responsive records, and the Court is expecting Plaintiffs to file a motion to compel

production of the SVRS.

        Defendants’ Joint Response: Neither the Secretary’s nor Attorney General’s Offices has

the statutory authority to produce the SVRS. Indeed, they have a statutory obligation to resist

production of the database.

                              MOTION TO COMPEL STANDARD

        “Unless otherwise limited by court order, the scope of discovery [extends to] any

nonprivileged matter that is relevant to any party’s claim or defense and [is] proportional to the

needs of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). In other words,

“[i]nformation is generally discoverable if it is: (1) non-privileged; (2) relevant to any party’s claim

or defense; and (3) proportional to the needs of the case.” Fraser Eng’g Co. v. IPS-Integrated

Project Servs., No. 17-cv-102-JD, 2018 U.S. Dist. LEXIS 110312, at *3–4 (D.N.H. Jan. 22, 2018)

(citing Fed. R. Civ. P. 26(b)(1)). “When a party refuses to produce a document when requested,

the party seeking that document may move to compel its production.” Id. (citing Fed. R. Civ. P.

37(a)(3)(B)(iv)). “The movant bears the initial burden of proving that the information it seeks is

relevant for the purposes of discovery.” Id.; see also Cont’l W. Ins. v. Opechee Constr. Corp., No.



                                                   2
151884176_2
     Case 1:24-cv-00312-SE-TSM            Document 60        Filed 03/27/25      Page 4 of 11




15-cv-006-JD, 2016 U.S. Dist. LEXIS 54716, at *2–3 (D.N.H. 2016) (citing Caouette v.

OfficeMax, Inc., 352 F. Supp. 2d 134, 136 (D.N.H. 2005)). Evidence is relevant as long as it meets

the minimal threshold of “encompass[ing] any matter that bears on, or that reasonably could lead

to other matter that could bear on, any issue that is or may be in the case.” Oppenheimer Fund,

Inc. v. Sanders, 437 U.S. 340, 351 (1978); see Heidelberg Ams., Inc. v. Tokyo Kikai Seisakusho,

Ltd., 333 F.3d 38, 41 (1st Cir. 2003). “Once a showing of relevance has been made, the objecting

party bears the burden of showing that a discovery request is improper.” Cont’l W. Ins., 2016 U.S.

Dist. LEXIS 54716, at *3. Furthermore, “[t]he purpose of pretrial discovery is to make trial less a

game of blindman’s bluff and more a fair contest with the basic issues and facts disclosed to the

fullest practicable extent.” Wamala v. City of Nashua, No. 09-cv-304-JD, 2010 U.S. Dist. LEXIS

105229, at *1 (D.N.H. Sept. 20, 2010) (internal quotation marks omitted).

                                          ARGUMENT

        This motion is straightforward. The evidence sought by Plaintiffs is highly relevant to their

claims, non-privileged, and reasonable in light of the scope of the claims and arguments of this

case. See Fraser Eng’g Co., 2018 U.S. Dist. LEXIS 110312, at *3–4.

        First, Defendants do not question the relevancy of the voter database information sought,

nor could they. Here, the production of the database is essential to aiding Plaintiffs in

demonstrating that HB1569 unconstitutionally burdens the fundamental right to vote under the

United States Constitution. See, e.g., Burdick v. Takushi, 504 U.S. 428, 434 (1992) (finding that a

court considering a challenge to a state election law must balance the character and magnitude of

injury against the justifications put forward by the state). The database will aid Plaintiffs in

presenting a complete picture (with data) demonstrating the degree to which individuals who

participated in New Hampshire elections prior to HB 1569 would have been impacted by HB 1569



                                                 3
151884176_2
     Case 1:24-cv-00312-SE-TSM                   Document 60           Filed 03/27/25          Page 5 of 11




had it been in effect in prior elections, and those who have been burdened by HB 1569 since its

effective date on November 11, 2024.

         For example, the database will assist Plaintiffs in identifying those who, before HB 1569

went into effect, used the Qualified Voter Affidavit process to establish citizenship when they

registered to vote, and thus would have been impacted by HB 1569’s proof of citizenship

requirements had the law been in effect. Defendant Secretary Scanlan himself stated at a June 5,

2024 committee of conference hearing that there were “about 45,000 voters [in New Hampshire]

that were born in different countries, and of those, about 7,000 used a qualified voter affidavit to

prove their citizenship qualifications.” See Compl. ¶ 66. He estimated that removing the Qualified

Voter Affidavit for citizenship would affect “tens of thousands” of New Hampshire voters who

could not otherwise be quickly verified as being previously registered through the centralized voter

database. Id. And, in the 2020 presidential election year, over 950 New Hampshire voters

registered to vote using a Qualified Voter Affidavit to attest to citizenship, age, or identity. See id.

¶ 60 (N.H. Dep’t. of State, Re: Report to Legislature: Voter Affidavits, at 14–15 (Sept. 8, 2022)). 1

         The database is also critical to establishing the burdens that have been imposed on voters

since HB 1569 became effective on November 11, 2024. Publicly available news reports indicate

that, during the 2025 municipal elections, individuals were turned away from voting because of

HB 1569’s onerous terms requiring documentary proof of citizenship for new registrants who

could no longer complete Qualified Voter Affidavits. See Todd Bookman and Josh Rodgers,

“NH’s New ID Requirements Send Some Would-be Voters Home to Grab Passports, Birth

Certificates,” NHPR (Mar. 11, 2025), https://www.nhpr.org/nh-news/2025-03-11/nhs-new-id-

requirements-send-some-would-be-voters-home-to-grab-passports-birth-certificates                                 (“In


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 On information and belief, this number is likely several magnitudes higher, and plaintiffs need access to the
database to investigate substantial discrepancies in data reported by the state versus other sources.

                                                          4
151884176_2
     Case 1:24-cv-00312-SE-TSM            Document 60         Filed 03/27/25      Page 6 of 11




Londonderry, at least one person who attempted to register was turned away for failing to bring

proof of citizenship, according to a poll observer, though it wasn’t clear if the person returned with

any documentation.”).

        The database will also help Plaintiffs and this Court evaluate the degree to which

Challenged Voter Affidavits were used before HB 1569’s enactment. HB 1569 removed the

process where a prospective voter who was already registered (and, thus, has already established

eligibility to vote)—but whose eligibility was nevertheless challenged by a peer voter (or political-

party appointed challenger) on election day—could cast an eligible ballot through a Challenged

Voter Affidavit, sworn under the penalties of voter fraud and perjury. The result of HB 1569 is

that many of these challenged voters who have already registered (and, thus, who previously

established their eligibility) will not have documentary proof of citizenship with them on election

day to rebut a surprise challenge to their qualifications because they registered before election day.

Without the availability of this Challenged Voter Affidavit, any otherwise eligible voter can be

disenfranchised if a moderator decides a voter challenge is “more likely than not” to be “well

grounded,” a vague standard that is undefined in HB 1569, without any meaningful, readily

available right of appeal. Accordingly, the database is critical to evaluate the extent to which

Challenged Voter Affidavits have been used in the past and the extent to which voters have been

challenged since HB 1569’s enactment on November 11, 2024.

        Second, Defendants’ argument that state law prevents disclosure of the database is

foreclosed by federal discovery rules. In federal court, state law privileges must cede to federal

civil discovery rules, and federal courts in New Hampshire have consistently rejected any claim to

the contrary—especially when a protective order would protect any confidentiality that exists

under state law. See Moses v. Mele, No. 10-cv-253-PB, 2011 U.S. Dist. LEXIS 59590, at *13



                                                  5
151884176_2
     Case 1:24-cv-00312-SE-TSM            Document 60         Filed 03/27/25      Page 7 of 11




(D.N.H. June 1, 2011) (“Assertions of privilege in federal court, in cases dealing with federal

questions, are governed by federal law.” (citing Fed. R. Evid. 501)); Saucedo v. Gardner, No. 17-

cv-183-LM, 2017 U.S. Dist. LEXIS 223162, at *8 (D.N.H. Oct. 27, 2017) (rejecting City of

Manchester’s efforts to quash subpoena on the ground that affidavit ballots and affidavit ballot

envelopes may be protected by law; “And even if some of the information, including the voter’s

signature or the reason for voting by absentee ballot, is confidential under state law, see RSA

654:31-a, such information will be protected from disclosure by the protective order entered in this

case”); G.K. v. Sununu, No. 21-cv-4-PB, 2021 U.S. Dist. LEXIS 254089, at *9 (D.N.H. Dec. 30,

2021) (“State statutes, while binding on state courts determining privilege, do not bind federal

courts deciding federal questions.”); see also Spiegel v. Engagetel, No. 15 C 1809, 2015 U.S. Dist.

LEXIS 168344, at *13 (N.D. Ill. Dec. 16, 2015) (collecting cases making clear that “litigants

cannot use state statutes or constitutional provisions to skirt the requirements of Rule 45”). This

case is no different.

        Third, Plaintiffs’ request is reasonable, as evidenced by the fact that the Secretary of State

and Attorney General have produced the same evidence to parties in similar cases. The Secretary

of State and Attorney General produced the statewide voter database pursuant to the terms of an

agreed-upon protective order in Casey v. N.H. Sec’y of State—a case that alleged that changes to

New Hampshire’s statutory definitions of “resident” and “residence” were intended to burden the

right to vote by indirectly making voter registration an effective declaration of residency that

triggers obligations and fees for drivers and vehicle owners under New Hampshire’s Motor

Vehicle Code. See Casey v. N.H. Sec’y of State, No. 19-cv-149-JL, 2019 WL 6352476 (D.N.H.

Nov. 27, 20219). This production occurred after the district court (Laplante, J.) orally ruled at an

August 13, 2019 status conference, over the defendants’ objection, that the state-law privilege set



                                                  6
151884176_2
     Case 1:24-cv-00312-SE-TSM                  Document 60           Filed 03/27/25         Page 8 of 11




out in RSA 654:45 did not apply in that federal proceeding and directed the defendants to produce

database information as part of discovery. In producing this database information in that case, the

defendants there preserved their objection to disclosing the database information, did not waive

that objection in any way, and reserved the right to reassert RSA 654:45 as a basis for withholding

discovery if any party seeks database information beyond the scope of what was represented to the

court during the August 13, 2019 conference. The defendants also did not waive their right to raise

the privilege set out in RSA 654:45 in any future litigation brought in state or federal court in

which the database information is sought, whether through discovery or otherwise. This is

memorialized in ECF Nos. 52 and 53 (¶2) in the Casey matter. Plaintiffs are willing to follow the

same procedure here, followed in Casey (and Saucedo 2), and, as communicated to the Defendants

in our meet and confer, are willing to enter into a reasonable protective order.

        WHEREFORE, for the reasons stated above, the Plaintiffs request that the Court:

        a)       Compel the production of “[a] copy of the New Hampshire statewide voter database

and all documents concerning the use of the statewide voter database, including instruction

manuals or other guides concerning the data fields contained in the database and their correct

interpretation”; and

        b)       Other and further relief as this Court deems just and proper in the circumstances.




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  In Saucedo v. Gardner, municipalities produced pursuant to the terms of an agreed-upon protective order various
affidavit ballot applications and affidavit ballot envelopes that arguably were protected under New Hampshire law.
See No. 17-cv-183-LM, ECF No. 30. That case challenged the process for rejecting voters due to a perceived signature
mismatch on affidavit ballot applications and affidavit ballot envelopes failed to guarantee basic fairness and was
unconstitutional because perceived mismatches lacked notice and an opportunity cure. See Saucedo v. Gardner, 335
F. Supp. 3d 202 (2018).

                                                         7
151884176_2
     Case 1:24-cv-00312-SE-TSM           Document 60       Filed 03/27/25     Page 9 of 11




                                      CERTIFICATION

        Pursuant to L.R 7.1(c), the undersigned certifies that a good faith attempt has been made

to obtain concurrence in the relief sought. Defendants object. Moreover, on February 24, 2025,

counsel for the parties met-and-conferred in an attempt to narrow the dispute but were unable to

resolve the dispute without Court intervention.




                                                  8
151884176_2
    Case 1:24-cv-00312-SE-TSM   Document 60     Filed 03/27/25       Page 10 of 11




                                   Respectfully submitted,

                                   COALITION FOR OPEN DEMOCRACY,
                                   LEAGUE OF WOMEN VOTERS OF NEW
                                   HAMPSHIRE, THE FORWARD FOUNDATION,
                                   MCKENZIE NYKAMP TAYLOR, DECEMBER
                                   RUST, MILES BORNE, BY HIS NEXT FRIEND
                                   STEVEN BORNE, ALEXANDER MUIRHEAD,
                                   BY HIS NEXT FRIEND RUSSELL MUIRHEAD,
                                   AND LILA MUIRHEAD, BY HER NEXT FRIEND
                                   RUSSELL MUIRHEAD

                                   By and through their attorneys,

                                   /s/ Henry R. Klementowicz
                                   Henry R. Klementowicz (N.H. Bar No. 21177)
                                   Gilles R. Bissonnette (N.H. Bar No. 265393)
                                   AMERICAN CIVIL LIBERTIES UNION OF NEW
                                   HAMPSHIRE FOUNDATION
                                   18 Low Avenue
                                   Concord, NH 03301
                                   (603) 333-2201
                                   henry@aclu-nh.org
                                   gilles@aclu-nh.org

                                   Jacob van Leer
                                   AMERICAN CIVIL LIBERTIES UNION FOUNDATION
                                   915 15th Street NW
                                   Washington, D.C. 20005
                                   (202) 715-0815
                                   jvanleer@aclu.org

                                   Ming Cheung
                                   Clayton Pierce
                                   Sophia Lin Lakin
                                   AMERICAN CIVIL LIBERTIES UNION FOUNDATION
                                   125 Broad Street
                                   New York, NY 10004
                                   (212) 549-2500
                                   mcheung@aclu.org
                                   cpierce@aclu.org
                                   slakin@aclu.org




                                      9
151884176_2
    Case 1:24-cv-00312-SE-TSM            Document 60        Filed 03/27/25      Page 11 of 11




                                              Geoffrey M. Atkins
                                              John T. Montgomery
                                              Desiree M. Pelletier
                                              ROPES & GRAY LLP
                                              Prudential Tower, 800 Boylston Street
                                              Boston, MA 02199
                                              (617) 951-7000
                                              Geoffrey.Atkins@ropesgray.com
                                              John.Montgomery@ropesgray.com
                                              Desiree.Pelletier@ropesgray.com

                                              Counsel for Plaintiffs

March __, 2025

                                 CERTIFICATE OF SERVICE

        I certify that on today’s date I served a copy of the foregoing on all counsel through the

court’s ECF system.

                                                      /s/ Henry Klementowicz
                                                      Henry Klementowicz




                                                 10
151884176_2
